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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN


THE ANDREW GOODMAN FOUNDATION
and AMANDA SCOTT,

                       Plaintiffs,                        Civil Action No. 19-cv-955

       v.

MARGE BOSTELMANN, JULIE M. GLANCEY,
ANN S. JACOBS, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., and MARK L. THOMSEN, in
their official capacities as Wisconsin Elections
Commissioners,

                       Defendants.


               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs THE ANDREW GOODMAN

FOUNDATION and AMANDA SCOTT, for the reasons set forth herein and in the memorandum

of law and statement of facts filed concurrently with this Motion as supported by the exhibits and

declarations submitted therewith, respectfully move for an order preliminarily enjoining the

Commissioners of the Wisconsin Elections Commission and their respective agents, officers,

employees, and successors, and all persons acting in concert with each or any of them, from

implementing, enforcing, or giving any effect to Wisc. Stat. § 5.02(6m)(f) in any way that prohibits

or discourages the use of an identification card issued by an accredited university, college, or

technical college in Wisconsin for the purpose of voting. Specifically, Plaintiffs seek to enjoin the

enforcement of the following restrictions on the use of identification cards issued by an accredited

university, college, or technical college in Wisconsin for the purpose of voting: (1) that all student

IDs contain an issuance date, (2) that all student IDs contain an expiration date within two years

of issuance, (3) that all student IDs contain a signature, and (4) that the student present an



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accompanying document establishing that he or she is currently enrolled in the college, university,

or technical institution (“Student Voter ID Restrictions” or “Restrictions”).

        Plaintiffs are entitled to a preliminary injunction because they are substantially likely to

 succeed on the merits of their claim that the Student Voter ID Restrictions were enacted with the

 discriminatory purpose of burdening young voters on account of their age and in violation of the

 Twenty-Sixth Amendment. Plaintiffs will also suffer irreparable harm absent relief as the Student

 Voter ID Restrictions will burden Plaintiff Scott’s and the Andrew Goodman Foundation’s

 (“AGF”) constituents’ right to vote in advance of the 2020 General Election and will force AGF

 to expend and divert resources to assist young voters in overcoming the burdens imposed by the

 Restrictions. Moreover, traditional legal remedies will not adequately protect their rights; the

 harm they will suffer absent a preliminary injunction outweighs harm the State will suffer because

 of one; and a preliminary injunction is in the public interest. See Girl Scouts of Manitou Council,

 Inc. v. Girl Scouts of the U.S.A., Inc., 549 F.3d 1079, 1086 (7th Cir. 2008).

        Accordingly, for the reasons stated herein as well as in the supporting pleadings, Plaintiffs

 respectfully request that this Court preliminarily enjoin the Student Voter ID Restrictions in

 advance of the 2020 General Election.

 Dated this 22nd day of January, 2020.        Respectfully submitted,

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